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     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
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 4   Email: kessellaw@sbcglobal.net
 5
     Attorney for Defendant
 6   SALVADOR CAMACHO LOPEZ
 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        ) CASE NO.: 2:07-CR-086-FCD
                                                      )
12                         Plaintiff,                 ) STIPULATION AND ORDER TO
                                                      ) CONTINUE STATUS CONFERENCE
13   vs.                                              )
                                                      )
14   SALVADOR CAMACHO LOPEZ. et al,                   )
                                                      )
15                         Defendants.                )
                                                      )
16
17           The parties request that the status conference in this case be continued from November 10
18   2008 at 10:00 a.m to December 1, 2008 at 10:00 a.m. They stipulate that the time between
19   November 10, 2008 and December 1, 2008 should be excluded from the calculation of time under
20   the Speedy Trial Act. The parties stipulate that the ends of justice are served by the Court excluding
21   such time, so that counsel for each defendant may have reasonable time necessary for effective
22   preparation, taking into account the exercise of due diligence. 18 U.S.C. §3161()(8)(B)(iv) and
23   Local Code T-4. Specifically, the remaining defense counsel need additional time to review
24   discovery, investigate, and continue plea negotiations with the government. The court has also
25   found time may be excluded in this matter upon the complexity of the case under 18 U.S.C. §3161
26   (h)(8)(B)(ii) and Local Code T-2. The parties stipulate and agree that the interests of justice served
27   by granting this continuance outweigh the best interest of the public and the defendant in a speedy
28   trial. 18 U.S.C. § 3161 (h)(8)(A).


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 1   Dated: November 6, 2008           Respectfully submitted,
 2
 3
                                        /s/ Alex R. Kessel
 4                                      ALEX R. KESSEL
                                        Attorney for Defendant
 5                                      SALVADOR CAMACHO LOPEZ
 6
 7                                      /s/ Shari Rusk
                                        SHARI RUSK
 8                                      Attorney for Defendant
                                        EDUARDO LLAMAS-MONTES
 9
10
     Dated: November 6, 2008            MCGREGOR W. SCOTT
11                                      United States Attorney
12
                                        /s/ Heiko Coppola
13                                      HEIKO COPPOLA
                                        Assistant United States Attorney
14
15   IT IS SO ORDERED:
16
     Dated: November 7, 2008
17                                     _______________________________________
18                                     FRANK C. DAMRELL, JR.
                                       UNITED STATES DISTRICT JUDGE
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